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UNITED STATES DISTRICT COURT

for the
DISTRICT OF MASSACHUSETTS

HARVARD BUSINESS SCHOOL PUBLISHING
CORPORATION, ET AL.
Plaintiff
Civil Action No.:
vy, 1:13-CV-11450-GAO

INSTITUTE FOR THE STUDY OF COHERENCE
—_______AND EMERGENCE, INC, ETAL,

Defendant

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)

Institute For The Study of Coherence Registered Agent:
and Emergence, Inc. Kenneth B. Lissack
14 Stratford, Rd, Marblehead, MA 01945 Institute For The Study of Coherence

and Emergence, Inc.
14 Stratford Road
A lawsuit has been filed against you. Marblehead, MA 01945

Within 21 days after service of this summons on you (not counting the day you received it) ——— or 60
days if you are the United States or a United States agency, or an officer or employee of the United States
described in Fed, R, Civ. P, 12 (a)(2) or (3} ——— you must serve on the plaintiff an answer to the attached
complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be
served on the plaintiff or plaintiffs attorney, whose name and address are:

William 5. Strong
Kotin, Crabtree & Strong, LLP
One Bowdoin Square, Boston, MA 02114

If you fail to respond, judgment by default will be entered against you for the relief demanded in
the complaint. You also must file your answer or motion with the court.

ROBERT M. FARRELL
CLERK OF COURT

 

/s/ — Elaine Flaherty
Signature of Clerk or Deputy Clerk

 

 

ISSUED ON 2013-06-17 13:46:37.0, Acting Clerk USDC DMA
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Civil Action No.: 1:13-CV—11450-GAO

PROOF OF SERVICE

(This section should not be filed with the court unless required by Fed. R. Civ, P. 4 (2)

a

This summons for (name of individual and title, if any Kem RB hissack Qe ig
was received by me on (date) G> 19-213 . ARR

 

a I personally served the summons on the individual at (place) ly S| ? il Cory Q,
Van ala Woe _ oes on (date) &~ Al- Bot? 5 or

 

(I I left the summons at the individuals residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individuals last known address; or
™a I served the summons on (name of individual) K emer LY RQ A Black ee! is

designated by law to accept service of process on behalf of (name of organizationWinw [i TE BD

 

—~
S\e jn SF Calierenres ate E a eeinee Xe. ~ _on(date) 4- U-261

4 I returned the summons unexecuted because sor

C) Other (specify) :

My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

&~2r-29 1% ie
Date — Se ignaturel]

“NW oMny LoS mV AG ty

Printed name and title

Aon Mad § et laseneal, Ws ss

Server's Address \ ‘

 

Additional information regarding attempted service, etc:
